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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF VIRGINIA
                        HARRISONBURG DIVISION


 UNITED STATES OF AMERICA                            )
                                                     )
                                                     )     Case No. 5-06-cr-00039-02
                                                     )
 v.                                                  )             ORDER
                                                     )
 CHRISTOPHER TYRELL CLARK,                           )    By: Glen E. Conrad
                                                     )    United States District Judge
              Defendant.                             )

       It appearing that the magistrate judge has submitted a report and

 recommendation that the defendant’s guilty plea be accepted; and it further appearing

 that no objections have been filed to said report and recommendation; and it appearing

 proper, it is ORDERED that said report and the findings and recommendation

 contained therein are hereby accepted in whole and the defendant will be adjudged

 guilty of each offense to which the defendant entered a guilty plea.        The Clerk is

 directed to send certified copies of this Order to all parties.

                                                 ENTER: March 1, 2007

                                                 s/ Glen E. Conrad
                                                 United States District Judge
